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 9                                UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEVADA
10

11    ROY STRASSMAN, Derivatively on Behalf of              Case No.:
      MARATHON DIGITAL HOLDINGS, INC. (f/k/a
12    MARATHON PATENT GROUP, INC.),
                  Plaintiff,
13                                                          VERIFIED SHAREHOLDER
                    v.                                      DERIVATIVE COMPLAINT
14
      FRED THEIL, GEORGES ANTOUN, KEVIN
15    DENUCCIO, SARITA JAMES, JAY LEUPP,
      SAID OUISSAL, MERRICK D. OKAMOTO,
16    AND SIMEON SALZMAN,

17                       Defendants,

18    -and-

19    MARATHON DIGITAL HOLDINGS, INC. (f/k/a
      MARATHON PATENT GROUP, INC.),
20
                    Nominal Defendant.
21    __________________

22            Plaintiff Roy Strassman (“Plaintiff”), by and through undersigned counsel, derivatively on
23   behalf of Nominal Defendant Marathon Digital Holdings, Inc. (f/k/a Marathon Patent Group, Inc.)
24   (“Marathon” or the “Company”), submits this Verified Shareholder Derivative Complaint (the
25   “Complaint”). Plaintiff’s allegations are based upon personal knowledge as to himself and his own
26   acts, and upon information and belief, developed from the investigation and analysis by Plaintiff’s
27   counsel, including a review of publicly available information, including filings by Marathon with
28   the U.S. Securities and Exchange Commission (“SEC”), press releases, news reports, analyst
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 1     reports, investor conference transcripts, publicly available filings in lawsuits, and matters of public

 2     record.

 3                                        NATURE OF THE ACTION

 4               1.   This is a shareholder derivative action brought on behalf of and for the benefit of the

 5     Company, against certain of its officers and/or directors named as defendants herein seeking to

 6     remedy Defendants (defined below) violations of their breaches of fiduciary duties and other

 7     wrongful conduct as alleged herein and that occurred from October 13, 2020 through the present

 8     (the “Relevant Period”). Defendants’ (defined below) actions have caused, and will continue to

 9     cause, substantial financial harm and other damages to the Company, including damages to its

10     reputation and goodwill.

11                                       JURSIDICTION AND VENUE

12               2.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

13     Plaintiff’s claims raise a federal question under Section 10(b) of the Exchange Act (15 U.S.C. §

14     78j(b)) and Section 21D of the Exchange Act (15 U.S.C. § 78u-4(f)). Plaintiff’s claims also raise a

15     federal question pertaining to the claims made in the Securities Class Action based on violations of

16     the Exchange Act.

17               3.   This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant to

18     28 U.S.C. § 1367(a).

19               4.   This Court has jurisdiction over each defendant named herein. The Company is
20     incorporated in Nevada, and because the allegations contained herein are brought derivatively on

21     behalf of Marathon, Defendants’ conduct was purposefully directed at Nevada. Defendants have

22     sufficient minimum contacts with Nevada so as to render the exercise of jurisdiction by this Court

23     permissible under traditional notions of fair play and substantial justice.

24               5.   Venue is proper in this Court because the conduct at issue had an effect in this State.

25                                                   PARTIES

26     Plaintiff
27               6.   Plaintiff Roy Strassman (“Plaintiff”) is a current owner of Marathon’s stock,

28     purchasing Marathon stock during the time period in issue. Plaintiff has held the stock during the



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 1     time of the continuous wrongful course of conduct alleged herein and continues to hold Marathon

 2     stock. Plaintiff will fairly and adequately represent the interests of the stockholders in enforcing the

 3     rights of the Company.

 4     Nominal Defendant

 5            7.      Nominal Defendant Marathon is a Nevada corporation with principal executive

 6     offices located at 1180 North Town Center Drive, Suite 100, Las Vegas, Nevada 89144. The

 7     Company’s common stock trades in an efficient market on the Nasdaq Capital Market (“NASDAQ”)

 8     under the trading symbol “MARA”.

 9     Director Defendants

10            8.      Defendant Fred Thiel (“Thiel”) was, at all relevant times, Chief Executive Officer

11     and Chairman of the Board of Directors (“Board”).

12            9.      Defendant Georges Antoun (“Antoun”) was, at all relevant times, a Director of the

13     Company. Defendant Antoun is a member of the Audit Committee. Defendant Antoun is the Chair

14     of the Compensation Committee.

15            10.     Defendant Kevin DeNuccio (“DeNuccio”) was, at all relevant times, a Director of

16     the Company.

17            11.     Defendant Sarita James (“James”) was, at all relevant times, a Director of the

18     Company.

19            12.     Defendant Jay Leupp (“Leupp”) was, at all relevant times, a Director of the
20     Company. Defendant Leupp is the Chair of the Audit Committee. Defendant Leupp is a member

21     of the Compensation Committee.

22            13.     Defendant Said Ouissal (“Ouissal”) was, at all relevant times, a Director of the

23     Company. Defendant Ouissal is a member of the Audit Committee. Defendant Ouissal is a member

24     of the Compensation Committee.

25            14.     Defendant Merrick D. Okamoto (“Okamoto”) was, at all relevant times, the

26     Company’s Executive Chairman and Director. On December 15, 2021, Marathon announced that
27     Defendant Okamoto “plans to retire at the end of 2021” and that the Board “has appointed

28     ///



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 1     [Defendant] Thiel, Marathon’s current CEO, to succeed Okamoto on January 1, 2022, at which time,

 2     Thiel will maintain the responsibilities of both Chairman and CEO.”

 3             15.     Defendants Theil, Antoun, DeNuccio, James, Leupp, and Ouissal are collectively

 4     referred to herein as the “Director Defendants”.

 5     Officer Defendant

 6             16.     Defendant Simeon Salzman (“Salzman”) has served as Marathon’s Chief Financial

 7     Officer since October 19, 2020.

 8             17.     The Director Defendants and Defendant Salzman are collectively referred to herein

 9     as the “Individual Defendants.”

10                            THE COMPANY’S CORPORATE GOVERNANCE

11             18.     As members of the Company’s Board, the Director Defendants were held to the

12     highest standards of honesty and integrity and charged with overseeing the Company’s business

13     practices and policies and assuring the integrity of its financial and business records.

14             19.     The conduct of the Director Defendants complained of herein involves a knowing

15     and culpable violation of their obligations as directors and officers of the Company, the absence of

16     good faith on their part, and a reckless disregard for their duties to the Company and its investors

17     that the Director Defendants were aware posed a risk of serious injury to the Company.

18                                  THE AUDIT COMMITTEE CHARTER

19             20.     The Company maintains an Audit Committee Charter. The Audit Committee Charter
20     states in relevant part:

21             Responsibilities

22             In carrying out its responsibilities, the Committee believes its policies and procedures

23             should remain flexible, in order to best react to changing conditions and to ensure to

24             the directors and shareholders that the corporate accounting and reporting practices

25             of the Corporation are in accordance with all requirements and are of the highest

26             quality.
27     ///

28     ///



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 1          In carrying out these responsibilities, the Committee will:

 2          •      Serve as an independent and objective party to monitor the Corporation’s
 3                 financial reporting process and internal control system and complaints or

 4                 concerns relating thereto.

 5          •      To recommend, for shareholder approval, the independent auditor to examine
 6                 the Corporation’s accounts, controls and financial statements.            The

 7                 Committee shall have the sole authority and responsibility to select, evaluate

 8                 and if necessary, replace the independent auditor. The Committee shall have

 9                 the sole authority to approve all audit engagement fees and terms and the

10                 Committee, or a member of the Committee, must pre-approve any non-audit

11                 service provided to the Corporation by the Corporation’s independent

12                 auditor.

13          •      Meet with the independent auditors and financial management of the
14                 Corporation to review the scope of the proposed audit for the current year

15                 and the audit procedures to be utilized, and at the conclusion thereof review

16                 such audit, including any comments or recommendations of the independent

17                 auditors.

18          •      Obtain and review at least annually, a formal written report from the
19                 independent auditor setting forth its internal quality-control procedures;
20                 material issues raised in the prior five years by its internal quality-control

21                 reviews and their resolution.

22          •      Ensuring the Committee’s receipt from the independent auditor of a formal
23                 written statement delineating all relationships between the auditor and the

24                 Corporation and actively engaging in a dialogue with the auditor with respect

25                 to any disclosed relationships or services that may impact the objectivity and

26                 independence of the auditor and for taking, or recommending that the full
27                 board take, appropriate action to oversee the independence of the auditor;

28



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 1          •     Ensure that the lead audit partner assigned by the independent auditor as well
 2                as the audit partner responsible for reviewing the audit of the Corporation’s

 3                financial statements shall be changed at least every five years.

 4          •     Review and appraise the audit efforts of independent auditors of the
 5                Corporation and, where appropriate, recommend the replacement of the

 6                independent accountants.

 7          •     Consider and approve, if appropriate, major changes to the Corporation’s
 8                accounting principles and practices as suggested by the independent

 9                auditors or management.

10          •     Establish regular and separate systems of reporting to the Committee by
11                management and the independent auditors regarding any significant

12                judgments made in management’s preparation of the financial statements and

13                the view of each as to appropriateness of such judgments and additional items

14                as required under the Sarbanes-Oxley Act including critical accounting

15                policies.

16          •     Review with the independent auditors and financial accounting personnel, the
17                adequacy and effectiveness of the accounting and financial controls of the

18                Corporation, and elicit any recommendations for the improvement of such

19                internal control procedures or particular areas where new or more detailed
20                controls or procedures are desirable. Particular emphasis should be given to

21                the adequacy of such internal controls to assess and manage financial risk

22                exposure and to expose any payments, transactions or procedures that might

23                be deemed illegal or otherwise improper.

24          •     Review and approve the internal corporate audit staff functions, including (i)
25                purpose, authority and organizational reporting lines; (ii) annual audit plan,

26                budget and stalling; (iii) concurrence in the appointment, compensation and
27                rotation of the internal audit management function; and (iv) results of internal

28                audits.



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 1           •      Review the financial statements contained in the annual report and
 2                  quarterly report to shareholders with management and the independent

 3                  auditors to determine that the independent auditors are satisfied with the

 4                  disclosure and content of the financial statements to be presented to the

 5                  shareholders. Any changes in accounting principles should be reviewed.

 6           •      Prepare and publish an annual Committee report in the proxy statement of the
 7                  Corporation.

 8           •      Review with management of the Corporation any financial information,
 9                  earnings press releases and earnings guidance filed with the Securities and

10                  Exchange Commission or disseminated to the public, including any

11                  certification, report, opinion or review rendered by the independent

12                  auditors.

13           •      Provide sufficient opportunity for the independent auditors to meet with the
14                  members of the Committee without members of management present.

15                  Among the items to be discussed in these meetings are the independent

16                  auditors' evaluation of the Corporation's financial, accounting and auditing

17                  personnel, and the cooperation that the independent auditors received during

18                  the course of the audit.

19           •      Establish procedures for receiving and treating complaints received by the
20                  Corporation regarding accounting, internal accounting controls and auditing

21                  matters, and the confidential anonymous submission by employees of

22                  concerns regarding questionable accounting or auditing matters.

23           •      Submit the minutes of all meetings of the Committee to, or discuss the matters
24                  discussed at each Committee meeting with, the board of directors.

25           •      Investigate any matter brought to its attention within the scope of its duties,
26                  with the power to retain outside advisors for this purpose if in its judgment,
27                  that is appropriate.

28     (Emphasis added).



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 1            21.     The purpose of the Audit Committee is to assist Marathon’s Board in its oversight of

 2     accounting, financial reporting, and disclosure processes and adequacy of systems of disclosure and

 3     internal controls. The wrongful conduct of the Director Defendants complained of herein violates

 4     the Charter of the Audit Committee.

 5            22.     The Board of Marathon are also charged with developing and maintaining the

 6     Company’s corporate governance policies and any related matters required by the federal securities

 7     laws. The wrongful conduct of the Director Defendants complained of herein violates good

 8     corporate governance principles.

 9                             DUTIES OF THE DIRECTOR DEFENDANTS

10            23.     By reason of their positions as officers and/or directors of the Company, and because

11     of their ability to control the business and corporate affairs of the Company, the Director Defendants

12     owed the Company and its investors the fiduciary obligations of trust, loyalty, and good faith. The

13     obligations required the Director Defendants to use their utmost abilities to control and manage the

14     Company in an honest and lawful manner. The Director Defendants were and are required to act in

15     furtherance of the best interests of the Company and its investors.

16            24.     Each director of the Company owes to the Company and its investors the fiduciary

17     duty to exercise loyalty, good faith, and diligence in the administration of the affairs of the Company

18     and in the use and preservation of its property and assets. In addition, as officers and/or directors

19     of a publicly held company, the Director Defendants had a duty to promptly disseminate accurate
20     and truthful information regarding the Company’s operations, finances, and financial condition, as

21     well as present and future business prospects, so that the market price of the Company’s stock would

22     be based on truthful and accurate information.

23            25.     To discharge their duties, the officers and directors of the Company were required to

24     exercise reasonable and prudent supervision over the management, policies, practices, and controls

25     of the affairs of the Company. By virtue of such duties, the officers and directors of the Company

26     were required to, among other things:
27     ///

28     ///



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 1                    (a)      ensure that the Company complied with its legal obligations and

 2                    requirements, including acting only within the scope of its legal authority and

 3                    disseminating truthful and accurate statements to the SEC and the investing public;

 4                    (b)      conduct the affairs of the Company in an efficient, businesslike manner so as

 5                    to make it possible to provide the highest quality performance of its business, to

 6                    avoid wasting the Company’s assets, and to maximize the value of the Company’s

 7                    stock;

 8                    (c)      properly and accurately guide investors and analysts as to the true financial

 9                    condition of the Company at any given time, including making accurate statements

10                    about the Company’s business prospects, and ensuring that the Company maintained

11                    an adequate system of financial controls such that the Company’s financial reporting

12                    would be true and accurate at all times;

13                    (d)      remain informed as to how the Company conducted its operations, and, upon

14                    receipt of notice or information of imprudent or unsound conditions or practices,

15                    make reasonable inquiries in connection therewith, take steps to correct such

16                    conditions or practices, and make such disclosures as necessary to comply with

17                    federal and state securities laws;

18                    (e)      ensure that the Company was operated in a diligent, honest, and prudent

19                    manner in compliance with all applicable federal, state and local laws, and rules and
20                    regulations; and

21                    (f)      ensure that all decisions were the product of independent business judgment

22                    and not the result of outside influences or entrenchment motives.

23            26.     Each Director Defendant, by virtue of his or her position as a director and/or officer,

24     owed to the Company and to its shareholders the fiduciary duties of loyalty, good faith, and the

25     exercise of due care and diligence in the management and administration of the affairs of the

26     Company, as well as in the use and preservation of its property and assets. The conduct of the
27     Director Defendants complained of herein involves a knowing and culpable violation of their

28     obligations as directors and officers of the Company, the absence of good faith on their part, and a



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 1   reckless disregard for their duties to the Company and its shareholders that the Director Defendants

 2   were aware, or should have been aware, posed a risk of serious injury to the Company.

 3          27.        The Director Defendants breached their duties of loyalty and good faith by causing

 4   the Company to issue false and misleading statements concerning the business opportunities, results,

 5   and prospects of the Company. As a result, the Company has expended, and will continue to expend,

 6   significant sums of money related to investigations and lawsuits.

 7                                    SUBSTANTIVE ALLEGATIONS

 8   Background

 9          28.        Marathon is a digital asset technology company that mines cryptocurrencies with a

10   focus on the blockchain ecosystem and the generation of digital assets in U.S. The Company was

11   formerly known as “Marathon Patent Group, Inc.” and changed its name to “Marathon Digital

12   Holdings, Inc.” on March 1, 2021.

13          29.        In October 2020, the Company announced the formation of a new joint venture with

14   Beowulf Joint Venture (“Beowulf”)—a private, independent infrastructure holding company that

15   develops, builds, owns, and operates power generation and industrial infrastructure facilities

16   worldwide. The Beowulf was purportedly focused on delivering low-cost power to the Company’s

17   Bitcoin mining operations. In connection with that joint venture, the Company entered into a series

18   of agreements with multiple parties, including affiliates of Beowulf and Two Point One, LLC

19   (“2Pl”), a Delaware limited liability company, to design and build a data center in Hardin, Montana,
20   issuing 6 million shares of its common stock to the parties of those agreements.

21                      MATERIALLY FALSE AND MISLEADING STATEMENTS

22          30.        On October 13, 2020, Defendants caused the Company to issue a press release

23   announcing the formation of the Beowulf (the “October 2020 Press Release”). The October 2020

24   Press Release represented that the Beowulf was “focused on delivering low cost power to

25   Marathon’s Bitcoin mining operations[,]” while also asserting various purported benefits that would

26   flow to the Company in connection with that joint venture. Specifically, the October 2020 Press
27   Release stated:

28   ///



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 1          Marathon has entered into agreements with Beowulf to co-locate its Bitcoin Mining

 2          Data Center (the “Data Center”) at the Big Horn Data Hub, which comprises 20 acres

 3          of land adjacent to Beowulf’s Hardin Generating Station, a 105 MW power facility

 4          located in Hardin, Montana. Beowulf will provide power from the Hardin plant to

 5          the Data Center at a production cost of $0.028/kWh. Beowulf will also become an

 6          equity shareholder of Marathon as a result of the joint venture. Marathon will retain

 7          100% of the Bitcoin mining output generated at the Data Center.

 8

 9          Marathon will deploy the 11,500 next generation S19 Pro Antminers (110 TH/s) it

10          previously acquired through its partnership with Bitmain Inc. at the Data Center.

11

12          These miners will generate 1.265 EH/s when fully deployed, with full deployment

13          anticipated through Q2 2021. Currently, 500 of the S19 Pro Antminers have been

14          delivered and deployed at the Data Center. The Data Center has the capacity to

15          deploy up to 30,000 S19 Pro Miners that will generate 3.320 EH/s, providing

16          Marathon with substantial opportunity for future expansion.

17

18          The Data Center will lower Marathon’s aggregate mining cost for electricity and data

19          center management to $0.034/kWh, which is 38% below the Company’s current cost
20          of mining. This low-cost electricity reduces Marathon’s breakeven costs to produce

21          Bitcoin from approximately $7,500 per Bitcoin today to $4,600 per Bitcoin,

22          dramatically improving the Company’s future profitability.

23          31.     Additionally, the October 2020 Press Release quoted Defendant Okamoto, who

24   stated that “[t]he closing of this joint venture with Beowulf represents the completion of a long

25   journey to own a Bitcoin mining facility[,]” and that “[p]artnering with an experienced independent

26   power producer enables us to maintain control and certainty of Marathon’s energy and operational
27   costs, at rates that represent some of the lowest in North America.”

28   ///



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 1          32.     The October 2020 Press Release also quoted Nazar Khan, Executive Vice President

 2   of Beowulf, who stated that “[i]n pursuing the co-location of a Bitcoin mining operation at Hardin,

 3   we sought to capture the inherent value to the Data Center of securing a long-term supply of reliable,

 4   secure, and low-cost power while benefitting from the significant on-site technical expertise to

 5   ensure efficient operations[,] and that the location of the Data Center has a meaningful competitive

 6   advantage on energy pricing, moderate climate, and regulatory stability.”

 7          33.     Also, on October 13, 2020, Defendants caused the Company to file a current report

 8   on Form 8-K with the SEC, which provided additional details regarding the Beowulf (the “October

 9   2020 8-K”):

10          On October 6, 2020, Marathon . . . entered into a series of agreements with affiliates

11          of Beowulf . . . and [2Pl] . . . Beowulf and 2Pl have been designing and developing

12          a data center facility of up to 100-megawatts (the “Facility”) that will be located next

13          to, and supplied energy directly from, Beowulf’s power generating station in Hardin,

14          MT (the “Hardin Station”). The Facility is being developed in two phases to reach

15          its 100 MW capacity, and the Hardin Station will supply the Facility exclusively with

16          energy to operate Bitcoin mining servers.

17

18          The projected build out cost for Phase I is approximately $14 million, which is front

19          loaded as the infrastructure is being built most efficiently for the full 100 MW
20          project. It entails high voltage equipment to break down the full 100 MW load from

21          the generating station, and thereafter, the infrastructure cost per MW is a matter of

22          distributing power at a container level. Assuming market conditions similar to

23          current, the build out cost for Phase II works out to approximately $200,000 -

24          $250,000 per MW. These are all in costs covering all equipment and labor needed

25          starting from the power coming off the Generating Station distributed down to

26          running the actual miners: including breakers, transformers, switches, containers,
27          PDUs, fans, network cables, and the like.

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 1          Marathon and Beowulf entered into an exclusive Power Purchase Agreement for the

 2          initial supply of 30 MW (Phase I), and up to 100 MW in the aggregate (Phase II), of

 3          energy load to the Facility at a cost of $0.028/kWh. The initial term of the Power

 4          Purchase Agreement is five years, with up to five additional three-year extensions,

 5          as mutually agreed, assuming 75% energy utilization of the initial 30 MW of energy

 6          supplied to the Facility. Marathon purchased certain mining infrastructure and

 7          equipment for the Facility from Beowulf for a purchase price of $750,000, and

 8          Marathon has the right, at no additional cost, to construct and access the Facility on

 9          land adjacent to the Hardin Station pursuant to a lease agreement with Beowulf.

10          34.     The October 2020 8-K also provided additional details regarding the Company’s

11   issuance of common stock in connection with completing, operating, and maintaining the Hardin

12   Facility, including that “Beowulf and 2P1 will provide operation and maintenance services for the

13   Facility pursuant to a Data Facility Services Agreement, in exchange for an initial issuance of

14   3,000,000 shares of Marathon’s common stock to each of Beowulf and 2Pl”; that “[u]pon

15   completion of Phase I, Marathon will issue to Beowulf an additional 150,000 shares of its common

16   stock”; that “[d]uring Phase II, Marathon will issue to Beowulf an additional 350,000 shares of its

17   common stock – 150,000 shares upon reaching 60 MW of Facility load and 200,000 at completion

18   of the full 100 MW of Facility load”; and that “[a]ll shares issued under the Data Facility Services

19   Agreement are issued pursuant to transactions exempt from registration under Section 4(a)(2) of the
20   Securities Act of 1933.”

21          35.     On November 12, 2020, Defendants caused the Company to issue a press release

22   announcing the Company’s 2020 fiscal third quarter financial results. That press release highlighted

23   the Company’s “joint venture with Beowulf Energy for 105-Megawatt bitcoin mining data center[.]”

24          36.     Also, on November 12, 2020, Defendants caused the Company to file a quarterly

25   report on Form 10-Q with the SEC, reporting the Company’s financial and operating results for the

26   quarter ended November 12, 2020 (the “3Q20 10-Q”). That filing contained substantively the same
27   statements as referenced in ¶¶ 33-34, supra, regarding the Beowulf Joint Venture.

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 1          37.     Appended as exhibits to the 3Q20 10-Q were signed certifications pursuant to the

 2   Sarbanes-Oxley Act of 2002 (“SOX”), wherein Defendants Okamoto and Salzman certified that

 3   “[t]he [3Q20 10-Q] fully complies with the requirements of section 13(a) or 15(d) of the [Exchange

 4   Act]” and that “[t]he information contained in the [3Q20 10-Q] fairly presents, in all material

 5   respects, the financial condition and results of operations of the Company.”

 6          38.     On November 13, 2020, Defendants caused the Company to file an amendment to

 7   the 3Q20 10-Q on Form 10-Q/A with the SEC (the “3Q20 10-Q/A). That filing contained

 8   substantively the same statements as referenced in ¶¶ 33-34, supra, regarding Beowulf.

 9          39.     Appended as exhibits to the 3Q20 10-Q/A were substantively the same SOX

10   certifications as referenced in ¶ 37, supra, signed by Defendants Okamoto and Salzman.

11          40.     On March 16, 2021, Defendants caused the Company to issue a press release

12   announcing the Company’s fourth quarter and fiscal year 2020 results (the “4Q/FY20 Press

13   Release”). That 4Q/FY20 Press Release highlighted the “[i]nitiated construction of [the] mining

14   facility adjacent to Beowulf’s energy plant in Hardin, MT, supplying Marathon long-term access to

15   electricity at 2.8¢/kWh[,]” and the “install[ation of] 3,697 S-19 ASIC miners at the mining facility

16   Hardin, MT, increasing Marathon’s current active mining fleet to 5,690 miners with an additional

17   6,641 already delivered . . . and in the process of being installed[.]”

18          41.     Additionally, the 4Q/FY20 Press Release quoted Defendant Okamoto: “we

19   established our 105 MW mining facility in Hardin, MT, where we have consistent access to
20   electricity at rates far below market average, we presciently purchased more than 100,000 of the

21   industry’s top performing Bitcoin miners . . . and we enhanced our balance sheet[,]” and that “[w]ith

22   a solid foundation to grow the business established, we are now focused on continuing to build out

23   our mining facility and bring our miners . . . online.”

24          42.     Also on March 16, 2021, Defendants caused the Company to file an annual report on

25   Form 10-K with the SEC, reporting the Company’s financial and operating results for the quarter

26   and year ended December 31, 2020 (the “2020 10-K”). That filing contained substantively the same
27   statements as referenced in ¶¶ 33-34, supra, regarding the Beowulf Joint Venture.

28   ///



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 1          43.     Appended as an exhibit to the 2020 10-K were substantively the same SOX

 2   certifications as referenced in ¶ 37, supra, signed by Defendants Okamoto and Salzman.

 3          44.     On May 10, 2021, Defendants caused the Company to file a quarterly report on Form

 4   10-Q with the SEC, reporting the Company’s financial and operating results for the quarter ended

 5   March 31, 2021 (the “1Q21 10-Q”). That filing contained substantively the same statements as

 6   referenced in ¶¶ 33-34, supra, regarding the Beowulf Joint Venture.

 7          45.     Appended as exhibits to the 1Q21 10-Q were substantively the same SOX

 8   certifications as referenced in ¶ 37, supra, signed by Defendants Thiel and Salzman.

 9          46.     On May 12, 2021, Defendants caused the Company to file an amendment to the 1Q21

10   10-Q on Form 10-Q/A with the SEC (the “1Q21 10-Q/A). That filing contained substantively the

11   same statements as referenced in ¶¶ 33-34, supra, regarding Beowulf.

12          47.     Appended as exhibits to the 1Q21 10-Q/A were substantively the same SOX

13   certifications as referenced in ¶ 37, supra, signed by Defendants Thiel and Salzman.

14          48.     On August 13, 2021, Defendants caused the Company to file a quarterly report on

15   Form 10-Q with the SEC, reporting the Company’s financial and operating results for the quarter

16   ended June 30, 2021 (the “2Q21 10-Q”). That filing contained substantively the same statements

17   as referenced in ¶¶ 33-34, supra, regarding the Beowulf Joint Venture.

18          49.     Appended as exhibits to the 2Q21 10-Q were substantively the same SOX

19   certifications as referenced in ¶ 37, supra, signed by Defendants Thiel and Salzman.
20          50.     The statements referenced above were materially false and misleading because

21   Defendants caused the Company to make false and/or misleading statements, as well as fail to

22   disclose material adverse facts about the Company’s business, operations, and compliance policies.

23   Specifically, Defendants caused the Company to make false and/or misleading statements and/or

24   fail to disclose that: (i) Beowulf, as it related to the Hardin Facility, implicated potential regulatory

25   violations, including U.S. securities law violations; (ii) as a result, Beowulf subjected Marathon to

26   a heightened risk of regulatory scrutiny; (iii) the foregoing was reasonably likely to have a material
27   negative impact on the Company’s business and commercial prospects; and (iv) as a result, the

28   Company’s public statements were materially false and misleading at all relevant times.



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 1                                       THE TRUTH EMERGES

 2          51.     On November 15, 2021, the Company filed a quarterly report on Form 10-Q with the

 3   SEC, reporting the Company’s financial and operating results for the quarter ended September 30,

 4   2021. In the “Legal Proceedings” section of that filing, the Company disclosed:

 5          On October 6, 2020, the Company entered into a series of agreements with multiple

 6          parties to design and build a data center for up to 100-megawatts in Hardin, MT. In

 7          conjunction therewith, the Company filed a Current Report on Form 8-K on October

 8          13, 2020. The 8-K discloses that, pursuant to a Data Facility Services Agreement,

 9          the Company issued 6,000,000 shares of restricted Common Stock, in transactions

10          exempt from registration under Section 4(a)(2) of the Securities Act of 1933, as

11          amended. During the quarter ended September 30, 2021, the Company and certain

12          of its executives received a subpoena to produce documents and communications

13          concerning the Hardin, Montana data center facility described in our Form 8-K

14          dated October 13, 2020. We understand that the SEC may be investigating whether

15          or not there may have been any violations of the federal securities law. We are

16          cooperating with the SEC. [Emphasis added].

17          52.     On this news, the Company’s stock price fell $20.52 per share, or 27.03%, to close

18   at $55.40 per share on November 15, 2021.

19                                  DAMAGES TO THE COMPANY
20          55.     The Company’s performance issues also damaged its reputation within the business

21   community and in the capital markets. The Company’s current and potential investors consider a

22   company’s trustworthiness and ability to accurately value its business prospects and evaluate sales

23   and growth potential. The Company’s ability to raise equity capital or debt on favorable terms in

24   the future is now impaired. In addition, the Company stands to incur higher marginal costs of capital

25   and debt because the improper statements and misleading projections disseminated by Defendants

26   have materially increased the perceived risks of investing in and lending money to the Company.
27   ///

28   ///



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 1                     DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS

 2           56.     Plaintiff brings this action derivatively in the right and for the benefit of the Company

 3   to redress injuries suffered and to be suffered as a direct and proximate result of the breaches of

 4   fiduciary duties, waste of corporate assets, and unjust enrichment.

 5           57.     Plaintiff will adequately and fairly represent the interests of the Company in

 6   enforcing and prosecuting its rights and has retained counsel competent and experienced in

 7   derivative litigation.

 8           58.     Plaintiff is a current owner of the Company stock and has continuously been an

 9   owner of Company stock during all times relevant to the Director Defendants’ wrongful course of

10   conduct alleged herein.

11           59.     Plaintiff understands his obligation to hold stock throughout the duration of this

12   action and is prepared to do so.

13           60.     During the illegal and wrongful course of conduct at the Company and through the

14   present, the Board consisted of the Director Defendants.

15           61.     Because of the facts set forth throughout this Complaint, demand on the Company

16   Board to institute this action is not necessary because such a demand would have been a futile and

17   useless act.

18           63.     At the time Plaintiff filed this derivative action, the Company Board was comprised

19   of six (6) members – Theil, Antoun, DeNuccio, James, Leupp, and Ouissal. Thus, Plaintiff is
20   required to show that a majority of the Director Defendants, i.e., three (3), cannot exercise

21   independent objective judgment about whether to bring this action or whether to vigorously

22   prosecute this action.

23           64.     All of Director Defendants either knew or should have known of the false and

24   misleading statements that were issued on the Company’s behalf and took no steps in a good faith

25   effort to prevent or remedy that situation.

26           65.     The Director Defendants (or at the very least a majority of them) cannot exercise
27   independent objective judgment about whether to bring this action or whether to vigorously

28   prosecute this action. For the reasons that follow, and for reasons detailed elsewhere in this



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 1   Complaint, Plaintiff has not made (and should be excused from making) a pre-filing demand on the

 2   Board to initiate this action because making a demand would be a futile and useless act.

 3           66.     Each of the Director Defendants approved and/or permitted the wrongs alleged

 4   herein to have occurred and participated in efforts to conceal or disguise those wrongs from the

 5   Company’s stockholders or recklessly and/or with gross negligence disregarded the wrongs

 6   complained of herein and are therefore not disinterested parties.

 7           67.     Each of the Director Defendants authorized and/or permitted the false statements to

 8   be disseminated directly to the public and made available and distributed to shareholders, authorized

 9   and/or permitted the issuance of various false and misleading statements, and are principal

10   beneficiaries of the wrongdoing alleged herein, and thus, could not fairly and fully prosecute such

11   a suit even if they instituted it.

12           68.     Additionally, each of the Director Defendants received payments, benefits, stock

13   options, and other emoluments by virtue of their membership on the Board and their control of the

14   Company.

15   Defendant Theil

16           69.     Defendant Theil is not disinterested or independent, and therefore, is incapable of

17   considering demand because Defendant Theil is the Company’s CEO. As CEO of the Company,

18   Defendant Theil is an employee of the Company who derives substantially all of his income from

19   his employment with the Company, making him not independent.
20           70.     As such, Defendant Theil cannot independently consider any demand to sue himself

21   for breaching his fiduciary duties to the Company, because that would expose him to liability and

22   threaten his livelihood.

23           71.     In addition, Defendant Theil is a defendant in the Securities Class Action entitled

24   Schlatre v. Marathon Digital Holdings, Inc., et al., Case 2:21-cv-02209-RFB-NJK (D. Nevada) (the

25   “Securities Class Action”)

26           72.     As such, Defendant Theil cannot independently consider any demand to sue himself
27   for breaching his fiduciary duties to the Company, because that would expose him to liability and

28   threaten his livelihood.



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 1   Defendants Antoun and DeNuccio

 2          73.      Defendant DeNuccio served in senior executive positions with Verizon, Cisco

 3   Systems, Ericsson, Redback Networks, Wang Laboratories, and Unisys Corporation.

 4          74.      Defendant Antoun joined Ericsson in 2007, when Ericsson acquired Redback

 5   Networks, a telecommunications equipment company, where Defendant Antoun served as the senior

 6   vice president of worldwide sales & operations. After the acquisition, Defendant Antoun was

 7   promoted to chief executive officer of the Redback Networks subsidiary. Prior to Redback

 8   Networks, Defendant Antoun spent five years at Cisco Systems, where he served as vice president

 9   of worldwide systems engineering and field marketing, vice president of worldwide optical

10   operations, and vice president of carrier sales.

11          75.      These two Directors have longstanding business and personal relationships with each

12   other that preclude them from acting independently and in the best interests of the Company and the

13   shareholders.

14   Defendants Leupp, Antoun, and Ouissal

15          76.      Defendants Leupp (Chairman), Antoun (member), and Ouissal (member) are

16   members of the Audit Committee. Pursuant to the Company’s Audit Committee Charter, these

17   defendants were responsible for, inter alia, overseeing the accounting and financial reporting

18   processes of the Company and reviewing and taking steps to remedy any deficiencies with the

19   Company’s system of internal controls. Defendants Leupp, Antoun, and Ouissal failed to adequately
20   oversee the Company’s reporting processes, failed to identify or remedy deficiencies with the

21   Company’s internal controls, and failed to cause the Company to prevent the issuance of false and

22   misleading statements. Thus, Defendants Leupp, Antoun, and Ouissal breached their fiduciary

23   duties, are not disinterested, and demand is excused as to them.

24                                             COUNT I
                     (Against the Director Defendants for Breach of Fiduciary Duty)
25

26          77.      Plaintiff incorporates by reference and realleges each and every allegation contained
27   above, as though fully set forth herein.

28   ///



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 1          78.     The Director Defendants owe the Company fiduciary obligations. By reason of their

 2   fiduciary relationships, the Director Defendants owed and owe the Company the highest obligation

 3   of good faith, fair dealing, loyalty, and due care.

 4          79.     The Director Defendants violated and breached their fiduciary duties of care, loyalty,

 5   reasonable inquiry, and good faith.

 6          80.     The Director Defendants engaged in a sustained and systematic failure to properly

 7   exercise their fiduciary duties. Among other things, the Director Defendants breached their

 8   fiduciary duties of loyalty and good faith by allowing the Company to make false and misleading

 9   statements about the Company’s business performance and failed to maintain an adequate system

10   of oversight, disclosure controls and procedures, and internal controls as alleged herein. These

11   actions could not have been a good faith exercise of prudent business judgment to protect and

12   promote the Company’s corporate interests.

13          81.     As a direct and proximate result of the Director Defendants’ failure to perform their

14   fiduciary obligations, the Company has sustained significant damages. As a result of the misconduct

15   alleged herein, the Director Defendants are liable to the Company.

16          82.     As a direct and proximate result of the Director Defendants’ breach of their fiduciary

17   duties, the Company has suffered damage, not only monetarily, but also to its corporate image and

18   goodwill.

19                                            COUNT II
                    (Against the Director Defendants for Waste of Corporate Assets)
20

21          83.     Plaintiff incorporates by reference and realleges each and every allegation contained

22   above, as though fully set forth herein.

23          84.     The wrongful conduct alleged regarding the issuance of false and misleading

24   statements and its failure to maintain an adequate system of oversight, disclosure controls and

25   procedures, and internal controls was continuous, connected, and ongoing throughout the Relevant

26   Period. It resulted in continuous, connected, and ongoing harm to the Company.
27          85.     As a result of the misconduct described above, the Director Defendants wasted

28   corporate assets by, inter alia: (i) paying excessive compensation and bonuses to certain of its



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 1   executive officers; (ii) awarding self-interested stock options to certain officers and directors; and

 2   (iii) incurring potentially millions of dollars of legal liability and/or legal costs to defend

 3   Defendants’ unlawful actions.

 4          86.     As a result of the waste of corporate assets, the Director Defendants are liable to the

 5   Company.

 6          87.     Plaintiff, on behalf of the Company, has no adequate remedy at law.

 7                                            COUNT III
                               (Against Defendants for Unjust Enrichment)
 8

 9          88.     Plaintiff incorporates by reference and re-alleges each and every allegation set forth
10   above, as though fully set forth herein.
11          89.     By their wrongful acts and the omissions of material fact that they caused to be made,
12   Defendants were unjustly enriched at the expense of, and to the detriment of, the Company.
13          90.     Plaintiff, a shareholder and representative of the Company, seeks restitution from
14   Defendants and seek an order from this Court disgorging all profits, benefits, and other
15   compensation, including any performance-based or valuation based compensation, obtained by
16   Defendants due to their wrongful conduct and breach of their fiduciary duties.
17          91.     By their wrongful acts, violations of law, and false and misleading statements and
18   omissions of material fact that they made and/or caused to be made, Defendants were unjustly
19   enriched at the expense of, and to the detriment of, the Company.
20          92.     Plaintiff, on behalf of the Company, has no adequate remedy at law.
21                                           COUNT IV
                  (Against Defendants Okamoto, Thiel, and Salzman for Contribution
22                        Under Sections 10(b) and 21D of the Exchange Act)
23          93.     Plaintiff incorporates by reference and realleges each and every allegation set forth
24   above, as though fully set forth herein.
25          94.     The Company and Defendants Okamoto, Thiel, and Salzman are named as
26   defendants in the Securities Class Action, which asserts claims under the federal securities laws for
27   violations of Sections 10(b) and 20(a) of the Exchange Act, and SEC Rule 10b-5 promulgated
28   thereunder. If and when the Company is found liable in the Securities Class Action for these



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 1   violations of the federal securities laws, the Company’s liability will be in whole or in part due to

 2   Defendants Okamoto, Thiel, and Salzman’s willful and/or reckless violations of their obligations as

 3   an officer of the Company.

 4          95.     As such, the Company is entitled to receive all appropriate contribution or

 5   indemnification from Defendants Okamoto, Thiel, and Salzman.

 6                                          PRAYER FOR RELIEF

 7          WHEREFORE, Plaintiff prays for relief and judgment, as follows:

 8          (A)     Declaring that Plaintiff may maintain this action on behalf of the Company and that

 9   Plaintiff are adequate representatives of the Company;

10          (B)     Finding the Director Defendants liable for breaching their fiduciary duties owed to

11   the Company;

12          (C)     Directing Defendants to take all necessary actions to reform and improve the

13   Company’s corporate governance, risk management, and internal operating procedures to comply

14   with applicable laws and to protect the Company and its stockholders from a repeat of the rampant

15   wrongful conduct described herein;

16          (D)     Awarding Plaintiff the costs and disbursements of this action, including attorneys’,

17   accountants’, and experts’ fees; and

18          (E)     Awarding such other and further relief as is just and equitable.

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 1                                     JURY TRIAL DEMANDED

 2         Plaintiff hereby demands a trial by jury of all issues so triable.

 3   Dated: May 5, 2022.
                                                  /s/ G. Mark Albright, Esq.
 4                                                G. MARK ALBRIGHT, ESQ. (NV Bar # 1394)
                                                  DANIEL R. ORMSBY, ESQ. (NV Bar # 14595)
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